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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY




 IN RE: LIQUID ALUMINUM SULFATE                 Civil Action No. 16-md-2687 (JLL) (JAD)
 ANTITRUST LITIGATION
                                                             NOTICE OF MOTION




 To:    All Counsel on ECF Service List

 COUNSEL:

        PLEASE TAKE NOTICE that on such date and time as the Court shall designate, the

 undersigned counsel for Indirect Purchaser Class Plaintiffs pursuant to this Motion For

 Preliminary Approval of Settlement and Certification of Settlement Class shall move before the

 Honorable Jose L. Linares, U.S.D.J. at the Martin Luther King, Jr. Building & U.S. Courthouse,

 50 Walnut Street, Newark, New Jersey for an Order: (1) granting preliminary approval of the IPP

 Settlement; (2) certifying the proposed Indirect Purchaser Settlement Class; (3) appointing

 named Plaintiffs City of Homestead, Florida (“Homestead”) and City of Creston Water Works

 Department (“Creston”) as class representatives of the Indirect Purchaser Settlement Class; (4)

 appointing Interim IPP Lead Counsel as co-lead class counsel for the Indirect Purchaser

 Settlement Class; (5) approving the form of notice and plan of notice to the Indirect Purchaser

 Settlement Class; (6) appointing the proposed settlement administrator; and (7) entering an

 appropriate case management schedule.
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        In support of this motion, the undersigned intends to rely the following documents

 attached hereto: (1) full and complete copy of the settlement agreement between Indirect

 Purchaser Class Plaintiffs and Defendants GEO Specialty Chemicals, Inc., Kenneth A. Ghazey

 and Brian C. Steppig; (2) supporting memorandum of law, (3) joint declaration of Marvin A.

 Miller and Jay B. Shapiro, (4) declaration of Linda V. Young; and (5) proposed order.

 The undersigned hereby requests oral argument.

 Dated: June 29, 2018

                                                     Respectfully submitted,

                                                     Indirect Purchaser Plaintiffs

                                                     s/Marvin A. Miller
                                                     Marvin A. Miller
                                                     Miller Law LLC
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                                                     s/Jay B. Shapiro
                                                     Jay B. Shapiro
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                                                     Sitterson, P.A.
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                                                     (305) 789-3229




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on June 29, 2018, I caused the foregoing to be filed electronically via

 the Court’s CM/ECF system, which will send electronic notification of filing to the registered

 participants as identified on the Notice of Electronic Filing (NEF). The foregoing document is

 also available for viewing and downloading from the ECF system.




                                       s/ Marvin A. Miller
                                       Marvin A. Miller
